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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 THE DAILY WIRE, LLC,

                Plaintiff,

        v.
                                                            Civil Action No. 23-3799 (JEB)
 THE UNITED STATES DEPARTMENT OF
 JUSTICE,

                Defendant.


                                STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to this action hereby

stipulate to dismiss this action with prejudice. The parties will bear their own attorney’s fees.

Dated: September 12, 2024
       Washington, DC

 Respectfully submitted,

                                                     MATTHEW M. GRAVES, D.C. Bar. #481052
 By: /s/ Jacob Meckler_________________              United States Attorney
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